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                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE WESTERN DISTRICT OF TEXAS
                                 SAN ANTONIO DIVISION

SELECT PORTFOLIO SERVICING,                        §
INC.,                                              §
                                                   §
      Plaintiff,                                   §
                                                   §      Civil Action No. 5:22-cv-00561
v.                                                 §
                                                   §
TERESA R. WINCKLER, ABIGAIL                        §
WINCKLER                                           §
                                                   §
      Defendants.

     PLAINTIFF’S NOTICE OF VOLUNTARY DISMISSAL WITHOUT PREJUDICE

          Plaintiff Select Portfolio Servicing, Inc. (“SPS” or “Plaintiff”) filed this Notice of

Voluntary Dismissal Without Prejudice as to Defendants Teresa R. Winckler and Abigail

Winckler (“Notice”) pursuant to Rule 41 of the Federal Rules of Civil Procedure, and shows the

Court as follows:

          1.      On May 31, 2022, Plaintiff filed its Original Complaint (“Complaint”) against

Defendants Teresa R. Winckler and Abigail Winckler (“Defendants”) to obtain an order

authorizing foreclosure of Plaintiff’s security interest on the real property located at 25122

Flaming Arrow, San Antonio, Texas 78258. (ECF No. 1.)

          2.      Plaintiff has completed service on Defendants by personal service. (ECF No. 6

and ECF No. 8, 9.) The served defendants have not answered or otherwise appeared in this

action.

          3.      Plaintiff no longer wishes to pursue this claim for foreclosure against Defendants.

Accordingly, it files this Notice, pursuant to Rule 41 (a)(1)(A)(i) of the Federal Rules of Civil

Procedure. Plaintiff files this Notice before Defendants filed an answer or motion for summary



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judgment. As such, Plaintiff voluntarily dismisses the claims it has asserted herein against

Defendants Teresa R. Winckler and Abigail Winckler without prejudice to the re-filing of the

same.

        4.      This dismissal will finally dispose of all parties and all claims. Defendants will

not be prejudiced by this voluntary dismissal.

                                             PRAYER

        WHEREFORE, PREMISES CONSIDERED, Plaintiff respectfully requests the

Plaintiff’s claims against Defendants Teresa R. Winckler and Abigail Winckler be dismissed

without prejudice, that no prejudice attach to such dismissal, and that Plaintiff be awarded all

other relief to which Plaintiff may be entitled.

                                                   Respectfully submitted,

                                                   By: /s/ Mark D. Cronenwett
                                                      MARK D. CRONENWETT
                                                      Texas Bar No. 00787303
                                                      mcronenwett@mwzmlaw.com

                                                     MACKIE WOLF ZIENTZ & MANN, P.C.
                                                     14160 N. Dallas Parkway, Suite 900
                                                     Dallas, Texas 75254
                                                     214-635-2650 (Phone)
                                                     214-635-2686 (Fax)

                                                     ATTORNEYS FOR PLAINTIFF




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                              CERTIFICATE OF SERVICE

       I hereby certify that a true and correct copy of the foregoing document was served on
July 13, 2022 as stated below on the following:

       Via U.S. Mail
       Teresa R. Winckler
       25122 Flaming Arrow,
       San Antonio, Texas 78258

       Via U.S. Mail
       Abigail Winckler
       25122 Flaming Arrow,
       San Antonio, Texas, 78258

                                                   /s/ Mark D. Cronenwett
                                                   MARK D. CRONENWETT




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